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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                    :
YAHCOB SWINTON,                                     :       CIVIL ACTION
                                                    :       NO.
                              Plaintiff,            :
                                                    :
v.                                                  :
                                                    :
TOYOTA FINANCIAL SERVICES,                          :
                                                    :
                              Defendant.            :
                                                    :


                                    NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that, on this date, Defendant Toyota Motor Credit Corporation

(“TMCC”), erroneously named as Toyota Financial Services, by and through its attorneys, Holland

& Knight LLP, respectfully files this Notice of Removal pursuant to 28 U.S.C. §§ 1331, 1441, and

1446 and states as follows:

                                           BACKGROUND

       1.      On or about June 24, 2021, Plaintiff Yahcob Swinton commenced an action against

TMCC by filing a Civil Complaint in the Magisterial District Court, County of Delaware, Docket

No. MJ-32251-CV-0000136-2021 (the “State Court Action”). A copy of the Civil Complaint filed

is attached as Exhibit A.

       2.      According to the Civil Complaint, Plaintiff alleges TMCC is in violation of the

following: “15 U.S.C. § 1682(b)(2), (b)(5), (d)(1), (G), C(c); 15 U.S.C. § 1662; 15 U.S.C. § 1681;

15 U.S.C. § 1666 (D)(A-C); and 15 U.S.C. § 1635.” Based on the foregoing, Plaintiff asserts

claims against TMCC for violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq.

(“FCRA”) and the Truth In Lending Act, 15 U.S.C. § 1601 et seq. (“TILA”).

       3.      TMCC has taken no action in the State Court Action.
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                      FEDERAL QUESTION JURISDICTION EXISTS

       4.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, which

provides: “The district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States.”

       5.      Plaintiff’s claim in the State Court Action Arises pursuant to federal law—i.e., the

FCRA and TILA. See Compl. Thus, the State Court Action states a basis for original subject matter

jurisdiction under 28 U.S.C. § 1331 and this removal is made pursuant to 28 U.S.C. § 1441(a).

  ALL PROCEDURAL REQUIREMENTS FOR REMOVAL HAVE BEEN SATISFIED

       6.      Pursuant to 28 U.S.C. § 1446(b), the instant Notice of Removal has been filed

within thirty days of receipt by TMCC of the Civil Complaint and Civil Action Hearing Notice,

both of which were received by TMCC via mail on July 1, 2021. Accordingly, this Notice of

Removal is timely under 28 U.S.C. § 1446(b).

       7.      Pursuant to 28 U.S.C. § 1446(a), a true and correct copy of all of the process,

pleadings, and documents from the State Court Action available to TMCC have been attached to

this Notice of Removal as Exhibits A and B.

       8.      Venue is proper in this Court pursuant to 28 U.S.C. § 1441(a) and 1446(a) because

the United States District Court for the Eastern District of Pennsylvania is the federal judicial

district embracing the Magisterial District Court, County of Delaware.

       9.      Pursuant to 28 U.S.C. § 1446(d), TMCC will promptly file a copy of this Notice of

Removal in the State Court Action and give written notice of the removal of this action to Plaintiff.
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             CONSENT TO REMOVAL BY OTHER NAMED DEFENDANTS

       10.     28 U.S.C. § 1446(b)(2)(A) requires all other Defendants that have been properly

named and served to consent to the removal. TMCC is the only named defendant. Therefore, this

removal is compliant with 28 U.S.C. § 1446(b)(2)(A).

                        NOTICE AND RESERVATION OF RIGHTS

       11.     By filing this Notice of Removal, TMCC does not waive any objections it may have

as to service, jurisdiction or venue, or any other defenses or objections it may have to this action.

TMCC intends to make no admission of fact, law, or liability by filing this Notice of Removal,

and TMCC expressly reserves all defenses, motions, and/or pleas.

       WHEREFORE, TMCC respectfully submits that this Notice of Removal complies with the

statutory removal requirements and requests that this action now proceeding against it be removed

from the Magisterial District Court, County of Delaware, to this Court, that this action proceed in

this Court as a properly removed action, and that TMCC have such other and further relief as this

Court may deem just and proper.



                                                      Respectfully submitted,


                                                      /s/ Adria Lamba
                                                      Adria M. Lamba (Pa. ID No. 320523)
                                                      HOLLAND & KNIGHT LLP
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                                                      Philadelphia, Pa 19104
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                                                      Attorneys for Defendant

Date: July 22, 2021.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 22nd day of July, 2021 a true and correct copy of the foregoing

Notice of Removal was sent via U.S. Mail to Plaintiff at the following address:

       Yahcob Swinton
       7215 Guilford Road
       Upper Darby, PA 19082


                                                             /s/ Adria Lamba
                                                             Adria Lamba
